      Case 5:18-cv-01320-BKS-TWD Document 20 Filed 02/01/19 Page 1 of 2


                          IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF NEW YORK
                                 SYRACUSE DIVISION


 Encoditech LLC,                                          Case No. 5:18:cv-01320-BKS-TWD

                        Plaintiff,                        Patent Case

                        v.                                Jury Trial Demanded

 Welch Allyn, Inc.

                        Defendant.



          STIPULATION AND PROPOSED ORDER TO EXTEND TIME
     TO COMPLETE THE CIVIL CASE MANAGEMENT PLAN AND SERVE THE
                        INITIAL DISCLOSURES

       IT IS HEREBY STIPULATED by the undersigned counsel for Encoditech LLC and Welch

Allyn, Inc., subject to the approval of the court, that the parties’ time to complete the Civil Case

Management Plan and serve the Initial Disclosures in this action shall be extended for an additional

thirty (30) days, to and including March 4, 2019. The reason for this extension is because the

parties have reached a settlement agreement in principal. The requested extension should not

disrupt the schedule in this case, as a Rule 16 conference has not been set.



February 1, 2019                                             Respectfully submitted,

                                                             RANALLO LAW OFFICE

                                                             By: /s/ Nicholas Ranallo
                                                             Nicholas Ranallo
                                                             Ranallo Law Office
                                                             5058 57th Ave. South
                                                             Seattle, WA 98118
                                                             (831) 607-9229
                                                             nick@ranallolawoffice.com

                                                             /s/ Isaac Rabicoff
                                                             Isaac Rabicoff

                                                             /s/ Kenneth Matuszewski
                                                             Kenneth Matuszewski
Case 5:18-cv-01320-BKS-TWD Document 20 Filed 02/01/19 Page 2 of 2


                                           RABICOFF LAW LLC
                                           73 W Monroe St
                                           Chicago, IL 60603
                                           773-669-4590
                                           isaac@rabilaw.com
                                           kenneth@rabilaw.com

                                           Attorneys for Plaintiff


                                           By: /s/ Douglas J. Nash
                                           Douglas J. Nash (511889)
                                           Office and Post Office Address
                                           Barclay Damon Tower
                                           125 East Jefferson Street
                                           Syracuse, New York 13202
                                           (315) 425-2885
                                           E-Mail: dnash@barclaydamon.com
                                           On for
                                           Attorneys for Defendant



      SO ORDERED, this        day of _______________, 2018



                             U.S. District Court Judge




                                2
